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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 D.C. TEACHERS’ FEDERAL CREDIT
 UNION,

        Plaintiff,
                                               Civil Action No. 19-cv-01126 (JEB)
 v.

 L.F. JENNINGS, INC., et al.,


       Defendants.



                           JOINT STIPULATION OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the parties hereby submit this joint

stipulation to dismiss with prejudice the above-captioned matter with each party bearing

their own costs and expenses. Additionally, the parties have entered into a settlement

agreement, dated September 16, 2020. The parties further request that this Court retain

jurisdiction to enforce the agreement, if that becomes necessary. A proposed Order is

attached for the Court’s consideration.

                          [SIGNATURES ON FOLLOWING PAGE]
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November 2, 2020                             Respectfully submitted,
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                                CERTIFICATE OF SERVICE

      I, Tram T. Pham, hereby certify that on November 2, 2020, this Joint Stipulation of
Dismissal was served on all counsel and parties of record via the Court’s electronic filing system.

                                      ___/s/__Tram T. Pham_________________
                                      Tram T. Pham




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 D.C. TEACHERS’ FEDERAL CREDIT
 UNION,

        Plaintiff,
                                               Civil Action No. 19-cv-01126 (JEB)
 v.

 L.F. JENNINGS, INC., et al.,


       Defendants.



                                   [PROPOSED] ORDER

       UPON CONSIDERATION of the parties’ Joint Stipulation of Dismissal, it is on this

____ day of October 2020, hereby

       ORDERED that the above-captioned matter is DISMISSED with prejudice; it is further

       ORDERED that this Court will retain jurisdiction of this matter for purposes of enforcing

the parties’ settlement agreement which is dated September 16, 2020.

       SO ORDERED.


                                                   _________________________________
                                                   JAMES E. BOASBERG
                                                   JUDGE FOR THE UNITED STATES DISTRICT
                                                   COURT FOR THE DISTRICT OF COLUMBIA
